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Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 2 of 34 PageID #:1837
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 3 of 34 PageID #:1838
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 4 of 34 PageID #:1839
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 5 of 34 PageID #:1840
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 6 of 34 PageID #:1841
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 7 of 34 PageID #:1842
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 8 of 34 PageID #:1843
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 9 of 34 PageID #:1844
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 10 of 34 PageID #:1845
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 11 of 34 PageID #:1846
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 12 of 34 PageID #:1847
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 13 of 34 PageID #:1848
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 14 of 34 PageID #:1849
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 15 of 34 PageID #:1850
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Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 20 of 34 PageID #:1855
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 21 of 34 PageID #:1856
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Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 26 of 34 PageID #:1861
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Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 28 of 34 PageID #:1863
Case: 1:10-cv-00115 Document #: 275-2 Filed: 10/13/17 Page 29 of 34 PageID #:1864
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